      Case
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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS


JENNIFER MECIJA, individually    )           MDL DOCKET NO.: 1629
and as guardian ad litem for     )           LEAD CASE NO.: 1:04-CV-10981-PBS
JHOANNE MECIJA, a minor, and     )           CIVIL ACTION NO: 8:06-cv-293
JEFFREY MECIJA, all individually )           DIST. OF MA NO.: 1:06-cv-11445-PBS
and as successors in interest to )           JUDGE PATTI B. SARIS
ESTATE OF HENRY C. MECIJA,       )
                                 )           NOTICE OF MOTION AND
                  Plaintiffs,    )           MOTION OF DEFENDANT JAMES
                                 )           P. HALL, D.O. FOR REMAND TO
       v.                        )           CALIFORNIA SUPERIOR COURT
                                 )           IN ORANGE COUNTY; REQUEST
PFIZER INC., PARKE-DAVIS, a      )           FOR ORAL ARGUMENT;
division of Warner-Lambert       )           MEMORANDUM IN SUPPORT
Company and Warner-Lambert       )           THEREOF; DECLARATION OF
Company LLC, WARNER-             )           BYRON J. BEAM
LAMBERT COMPANY LLC,             )           [PROPOSED ORDER FILED
WARNER-LAMBERT COMPANY, )                    CONCURRENTLY HEREWITH]
JAMES P. HALL, D.O., and Does 1- )
100,                             )
                                 )
                  Defendants.    )

      TO THE CLERK OF THE ABOVE-ENTITELD COURT, ALL PARTIES AND TO

THEIR ATTORNEYS OF RECORD:

      Defendant JAMES P. HALL, D.O. (“Dr. Hall”) respectfully moves this Court to

remand this case to the California Superior Court in Orange County where it was

originally filed. This motion is be made on the grounds that the removal to this Court by

defendant Pfizer, Inc. (“Pfizer”) was improper because California defendant Dr. Hall is


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 NOTICE OF M TN. AND M TN. OF DEFENDANT JAM ES P. HALL, D.O. FOR REM AND TO ORANGE
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not a "sham" or "fraudulent” defendant. Moreover, the plaintiffs’ claim against Dr. Hall is

not barred by the statute of limitations contained in California Code of Civil Procedure

section 340.5, because the plaintiffs’ medical negligence cause of action was tolled by

California Code of Civil Procedure section 364.

      This Motion is made upon this Notice of Motion and Motion; the complete file and

record herein; the Memorandum in Support of Motion and Declaration of Byron J. Beam

Esq. filed concurrently herewith; and upon such further oral and/or documentary evidence

or argument as may be submitted at the hearing of the Motion.

DATED: September 15, 2006             /s/ Julia P. Cheng
                                      Attorneys for Defendant James P. Hall, D.O.
                                      BYRON J. BEAM, Bar No.: 35825
                                      JULIA P. CHENG, Bar No.: 219771
                                      BEAM BROBECK WEST BORGES & ROSA
                                      600 West Santa Ana Boulevard
                                      Suite 1000
                                      Santa Ana, California 92701-4586
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                                      (714) 568-0129
                                      bbeam@bbwbrlawfirm.com
                                      jcheng@bbwbrlawfirm.com




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                        REQUEST FOR ORAL ARGUMENT

      Under Local Rules of the United States District Court for the District of

Massachusetts, Rule 7.1 (d), any party making or opposing a motion who believes that

oral argument may assist the court and wishes to be heard can make a request for oral

argument. Here, Dr. Hall wishes to be heard and believes that oral argument may assist

the Court in ruling on his Motion for Remand.




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 NOTICE OF M TN. AND M TN. OF DEFENDANT JAM ES P. HALL, D.O. FOR REM AND TO ORANGE
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